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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          2:12-CR-00198-MCE
12                 Plaintiff,
                                                        AMENDED PRELIMINARY ORDER
13          v.                                          OF FORFEITURE
14   STEVEN ORTEGA, JR.,
15                 Defendant.
16

17          Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Steven Ortega, Jr. it is hereby ORDERED, ADJUDGED AND DECREED as follows:

19          1.     Pursuant to 21 U.S.C. § 853(a), defendant Steven Ortega, Jr.’s interest in the

20 following property shall be condemned and forfeited to the United States of America, to be disposed

21 of according to law:

22                 a.      Approximately $41,820.00 in U.S. Currency;
23                 b.      Approximately $23,437.76 seized from U.S. Bank Account 1-534-9727-8140,
                           held in the name of Steven G. Ortega Jr. dba Trend Setterz Custom;
24
                   c.      2012 Eliminator Speedster Boat, VIN: ELBA0131G112, California Vessel
25                         Number CF0818RR;
26                 d.      2012 Extreme Carrier Trailer, VIN: 5DBUP28381R000028, California
                           License: 4LU8888;
27
                   e.      Assorted Jewelry Valued at Approximately $32,000 to include the $10,500.00
28                         in lieu of the 2.05 carat diamond engagement ring;
                                                        1
29                                                                     Amended Preliminary Order of Forfeiture

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 1                  f.      2011 Harley Davidson Road Glide Touring Motorcycle, VIN:
                            1HD1KH435BB605168, California License: 20M0719; and
 2
                    g.      2011 Harley Davidson Road Glide Touring Motorcycle, VIN:
 3                          1HD1KH431BB627068, California License: 20M5789.
 4            2.    The above-listed property constitutes property used, or intended to be used, in any

 5 manner or part, to commit, or to facilitate the commission of a violation of 21 U.S.C. §§ 846 and

 6 841(a)(1).

 7            3.    Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

 8 seize the above-listed property. The aforementioned property shall be seized and held by the United
 9 States, in its secure custody and control.

10            4.    a.      Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall

11 publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s

12 (or a designee’s) intent to dispose of the property in such manner as the Attorney General may direct

13 shall be posted for at least 30 consecutive days on the official internet government forfeiture site

14 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written

15 notice to any person known to have alleged an interest in the property that is the subject of the order

16 of forfeiture as a substitute for published notice as to those persons so notified.

17                  b.      This notice shall state that any person, other than the defendant, asserting a

18 legal interest in the above-listed property, must file a petition with the Court within sixty (60) days

19 from the first day of publication of the Notice of Forfeiture posted on the official government
20 forfeiture site, or within thirty (30) days from the receipt of direct written notice, whichever is

21 earlier.

22            5.    If a petition is timely filed, upon adjudication of all third-party interests, if any, this

23 Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests will

24 be addressed.

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29                                                                          Amended Preliminary Order of Forfeiture

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 1          6.     Within 30 days of receipt of the $10,500.00 cashier’s check and confirmation from

 2 Baron’s Jewelers that their lien holder interest has been paid, the 2.05 carat diamond engagement

 3 ring will be returned to Steven Ortega, Jr., through his attorney Randy Sue Pollock.

 4          IT IS SO ORDERED.

 5 Dated: August 16, 2016

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29                                                                    Amended Preliminary Order of Forfeiture

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